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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                              Case No. 25-mj-104 (DLM)

UNITED STATES OF AMERICA,                  )
                                           )
                           Plaintiff,      )
        v.                                 )   DEFENDANT'S MOTION FOR
                                           )   CONTINUANCE OF DETENTION
ABDISATAR AHMED HASSAN,                    )   HEARING
                                           )
                         Defendant.



       Mr. Hassan by and through his attorneys, hereby respectfully moves the Court for a

continuance under 18 U.S.C. § 3142(f)(2)(B) of the presently scheduled detention hearing.

Mr. Hassan is requesting more than a 5-day continuance for good cause and requests the

hearing, along with the preliminary hearing, be held on Thursday, March 13, 2025, in the

morning.

       Mr. Hassan is charged by complaint with Material Support to a Terrorist

Organization. The allegations involve attempted travel to a foreign county and support for

a terrorist organization. There are allegations of social media posts as noted in the criminal

complaint. (ECF 1). Counsel was appointed on March 3, 2025. The detention and

preliminary hearings are set presently for Wednesday, March 5, 2025, at 10:15 a.m.

Counsel needs additional time to prepare for the detention hearing because of the

allegations involve more than a read of the complaint, the need to communicate with

family, some who do not live in the United States, the need to verify information, and to

allow counsel more time with Mr. Hassan who is housed at the Sherburne County Jail.

Defense counsel believes that these reasons provide a good-cause basis for continuing these
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hearings in the interest of justice.

       For the above reasons, we are requesting that the presently set detention hearing be

continued until March 13, 2025, in the morning per both parties’ calendars, and that the

preliminary hearing be set for that same time. The government has expressed a preference

to be concluded with these proposed proceedings by 11:30 a.m. on 3/13/25, if possible.

Defense counsel notes that the proposed date and time fall within the 14-day window

during which a preliminary hearing must be held, pursuant to F.R.Crim.P 5.1(c).

       Further, defense counsel has conferred with the government, and it has graciously

indicated no objection to this Motion under these circumstances.



Dated: March 4, 2025                          Respectfully submitted,

                                              s/James S. Becker

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